

Matter of Parker v Chun (2020 NY Slip Op 07067)





Matter of Parker v Chun


2020 NY Slip Op 07067


Decided on November 25, 2020


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 25, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

MARK C. DILLON, J.P.
CHERYL E. CHAMBERS
HECTOR D. LASALLE
ANGELA G. IANNACCI, JJ.


2020-07796

[*1]In the Matter of Aquellio Parker, petitioner,
vDanny Chun, etc., et al., respondents.


Janet E. Sabel, New York, NY (Rebecca Besdin of counsel), for petitioner.
Letitia James, Attorney General, New York, NY (James B. Cooney of counsel), for respondent Danny Chun.



DECISION &amp; JUDGMENT
Proceeding pursuant to CPLR article 78 in the nature of prohibition to prohibit the respondent Danny Chun, an Acting Justice of the Supreme Court, Kings County, from proceeding with an order for the petitioner Aquellio Parker to appear in person.
ADJUDGED that the petition is denied and the proceeding is dismissed on the merits, without costs or disbursements.
"Because of its extraordinary nature, prohibition is available only where there is a clear legal right, and then only when a court—in cases where judicial authority is challenged—acts or threatens to act either without jurisdiction or in excess of its authorized powers" (Matter of Holtzman v Goldman , 71 NY2d 564, 569; see Matter of Rush v Mordue , 68 NY2d 348, 352).  The petitioner has failed to demonstrate a clear legal right to the relief sought and establish that the respondent Danny Chun lacked jurisdiction or acted or threatened to act in excess of his authorized powers (see Matter of Holtzman v Goldman , 71 NY2d at 569).
DILLON, J.P., CHAMBERS, LASALLE and IANNACCI, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








